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                                                                              9


                                                                                      Apr 26, 2018
                           UN ITED STA TES D ISTR ICT CO U R T
                           SOUTHERN DISTRJCT OF FLORIDA
              18-20336-CR-ALTONAGA/GOODMAN
                          CA SE N O .
                                         18U.S.C.j371
                                         18U.S.C.j981(a)(1)(C)

 U M TED STATE S O F AM ER IC A

 V S.

 DELANEY EQUITY GROUP LLC,
        D efendant.
                                        /

                                       IN FO R M ATIO N

        The A ttorney forthe United States chargesthat:

               DefendantDELANEY EQUITY GROUP LLC,wasaFloddalimited liability
 com pany based in Palm Beach G ardens,Florida,and w as registered w ith the U .S.Secudties and

 Exchange Com m ission asa securitiesbroker-dealer.

               IndividualA w as the M em ber M anager,Presidentand Cllief Executive O fficerof

 DELANEY EQUITY GROUP LLC,andwasaregisteredsecudtiesrepresentative.
               Ian C.Kasswasatrelevanttimesemployed by DELANEY EQUITY GROUP
 LLC asa registered securities representative.

        CO N SPIM CY TO U N LAW FULLY SELL U N RE G ISTER ED SEC U W TIES
                                        (18U.S.C.1371)
        From in or around O ctober 2009, through in or around June 2013, in M iam i-D ade,

 àroward,and Palm Beach Cotmties,in the Southern DistrictofFlorida,and elsewhere,the
 defendant,

                             DELANEY EQUITY GROUP LLC,
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 did willftzlly,thaiis,with the intentto further the objects ofthe conspiracy,and knowingly
 com bine,conspire,confederate,and agree w ith Ian C.K ass,IndividualA ,Steven Sanders,Daniel

 M cK elvey,iA lvin S. M irm an,and othersknow n and unknown to theA ttorney forthe United States,

 to commitcertain offenses againstthe United States,thatis:(a)to lcnowingly,willfully,and
 Ilnlawft
        zlly, directly and indirectly, use any means and instrum ents of transportation and

 commurlication in interstate comm erce and the m ails,to sellsecudties,tllrough the use and

 medillm ofényprospecmsand otherwise;and (b)toknowingly,willfully,and tmlawfully carry
 and cause to be carried tllrough the m ails and in interstate com m erce, by any m eans and

 instrum ents of transportation,securities,for the purpose of sale and for delivery after sale,in

 violation ofTitle 15,United StatesCode,Sections77e(a)(1),77e(a)(2),and 77x,and Title 17,
 Code ofFederalRegtzlàtions,Section 230.144.

                              PU RPO SE O F TH E C ON SPIR AC Y

                It was a purpose of the conspiracy for the conspirators to llnlawftzlly enrich
 them selves by selling restricted sharesofpublic com paniesusing false and f'
                                                                             raudulentstàtem ents

 in docum ents,to falselyindicatethatthenamed shareholderswerenotaffiliatesofthecompanies.

 These false and fraudqlentstatem entsw ould allow the sharesto befalsely classified asunrestricted

 orfree-trading ahd sold to the public ata profit.

                      M AN NE R A N D M EA N S O F TH E C ON SPIM CY

        The m anner and m eansby w hich the defendantand its conspirators soughtto accom plish

 theobjectsandpurposeoftheconspiracyincluded,amongothers,thefollowing:
                Steven Sanders,D anielM cK elvey,and Alvin S.M irm an w ould recnzitindividuals

 to serve as straw CEO sfor certain issuers. The straw CEO sw ould have no furtherrole with the

 com pany and w ould be paid w hen the com pany w aslatersold. Sanders,M cK elvey,and M irm an
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    would also recrtzitstraw shareholdersfortheissuersand would assir acertain num berofshares

    to each straw shareholder. In reality,the straw shareholderswere prom ised a fixed am ountof

    moneyoncethe company wasready to be sold,and the shareswerein factcontzolled by Sanders,

    M cK elvey,and M irm an.

           6.      Steven Sanders,D anielM cK elvey,and A lvin S.M irm an w ould then subm it false

    and fraudulent registration statem ents and other paperwork to the SEC. These registration

    statem ents contained false business plans, falsely descdbed the role of the straw CEO , and

    concealed the existence of Sanders, M cK elvey and M irm an. These false and fraudulent

    docum entsw ould be used to obtain effectiveregistration ofthe shares ofthe com panies.

                   DELANEY EQUITY GROUPLLC,lndividualA,and1anC.Kasswouldprepare
    Form s211 on behalfoftheissuersand subm itthem to the FinancialIndustry Regulatory A uthority

    (&TlNRA'')so thatsharesofthe issuerscould be quoted and traded over-the-cotmter. These
    form sfalsely and fraudulentlyrepresentedthàtthe compartieswereexecutingtheirbusinessplans

    andwereoperatingunderthedirection ofthestraw CEO. Inre'
                                                          ality,IndividualA andIanC.Itass
    took a11oftheirdirection f'
                              rom Steven Sanders,D anielM cK elvey,and A lvin S.M irm an,and cam e

    to lenrn thatthenam ed oftk ersw ere m ere nom inees. IndividualA and K assalso leam ed thatthe

    issuerswere shellcpmpanies controlled by Sanders,M cKelvey,and M irman,and thatFINRA

    authorization for electronic trading w as being sought so that these principals could sell the

    ptlrported free-trading shares ofthe issuers to shellbuyers.

           8.      In follow-up correspondencesubmittedby DELAM Y EQUITY GROUP LLC
'to FIN RA ,thatw as transm itted via interstate w ire com m unm ication and the m ails,IndividualA
.




    and Ian C .Kassw ouldprovide additionalfalse inform ation to perpetuate thefiction thatthe nam ed

    officers controlled the com panies,and provide false explanations as to the business plans of the
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 com panies. Tlliscorrespondence also gavethe false appearance thatthe comm unicationswere

 being transm itted w ith the authodzation ofthe nam ed officers.

                 Steven Sanders,Daniel M cK elvey,and A lvin S.M irm ailw ould open brokerage

 accolmts atDELANEY EQIJITY GROUP LLC,and depositsharesinto these accountsby
 executing securities deposit form s that falsely and fraudulently represented that Sanders,

 M cKelvey,and M irm an were notaftiliatesof the entities. IndividualA and Ian C .K ass would

 approve and endorse these false and fraudulentdeposit form s,representing thatthe inform ation

 w astrue and correct,when i.
                            n tnlth and in factIndividualA and K assknew thatSanders,M cK elvey

 and M irm an exercised control over the issuers. These fonus also falsely represented that the

 representations ilithese form s were 'Gtl'ue and correcty''and thatthe securities deposited with

 DELANEY EQUITY GROUP LLC weremadein ç'compliancewitha11applicablefederaland
                                .1

 state secutities law s and regulations.'' ,In one exam ple, on or about A ugust 31, 2010, for a

 securitiesbrokerage depositform forM cK elvey's shares of M IB D igital,Inc.,IndividualA and

 Kass signed the form asprincipaland representative,respectively,ofDELANEY EQUITY
 G R O U P LL C ,falsely representing thatM cK elvey w as notand had notbeen an affiliate ofM IB

 D igital,lnc.

        10.      Once FINR A authorization w as approved for electronic trading and quotation of

 theshares,DELANEY EQUITY GROUP LLC wouldbecometheexclusivemarket-makerfor
 the electronic trading of the issuer's stock for a period of tim e. IndividualA and lan C.K ass

 thereafter offered to sell and sold shares of the issuers thatw ere held in the accounts of Steven

 Sanders,D anielM cKelvey,and A lvin S.M irm an,in the over-the-countersecuritiesm arketsusing

 interstate w ire com m unications,know ing that the shares had been deposited w ith D ELA N EY

 EQUITY GROUP LLC usingfalsestatementsin requiredpapem ork,and thatthesharesshould
 have been classified asrestdcted.
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                                       O VER T A C TS

       lnfurtheranceoftheconspiracyandtoachievetheobjectsandpurposethereo:atleastone
 conspirator committed and caused to be com mitted,in the Southem District of Florida,and

 elsewhere,atleastoneofthefbllowingovertacts,amongothers:
               On oraboutD ecem ber 2,2011,InclividualA and 1m1C.K ass executed the sale of

 14,000sharesofRackwise,Inc.,formerlyknownasM IB Digital,Inc.,atapriceof$1.20each,for

 thebenefitofDanielM cKelvey,involvingsharesthatweredepositedwithDELANEY EQUITY
 G R O UP L LC using false and fraudulentpape- ork.

               On oraboutDecember2,2011J,IndividualA and Ian C.Kassexecuted the sale of

 13,000sharesofRackwise,Inc.,fonnerly knownasM IB Digital,Inc.,atapriceof$1.20 each,for
 thebenefitofSteven Sanders,involving sharesthatweredeposited with DELANEY EQVITY
 G R O U P LLC using false and fraudulentpapelw ork.

               On oraboutD ecem ber 2,2011,IndividualA and Ian C.K ass executed the sale of

 14,000 sharesofRackwise,Inc.,form erly known asM IB Digital,Inc.,atapdce of$1.20 each,for

 thebenefitofAlvin S.M irman,involvingsharesthatweredeposited withDELANEY EQUITY
 G R O U P LLC using false and fraudulentpapelw ork.

               On oraboutJtm e 24,2013,h dividualA executed the sale of10,000 sharesofBlue

 Sun,at a pl'ice of $0.07 each,for the benetk of Steven Sanders,involving shares thatwere

 depositedwith DELANEY EQUITY GROUP LLC using false and fraudulentpapem ork
        A11in violation ofTitle 18,U nited States Code,Section 371.
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                                         FOR FEITU RE
                                   (18U.S.C.j981(a)(1)(C))
                 The allegations of tllis lnform ation are realleged and by this reference fully

 incop orated herein forthe purpose ofalleging forfeiture to the United States of certain property

 in which the defendanthasan interest.

                U pon conviction of the violation alleged in this Inform ation,the defendant shall

 forfeitto the United States,any property,realorpersonal,w hich constitutes or is derived from

 proceedstraceableto such violation.

        A1lptlrsuanttoTitle18,United StatesCode,Section 981(a)(1)(C)andtheproceduresset
 fol'th in Title 21,United States Code, Section 853,m ade applicable by Title 28,United States

 Code,Section 2461.


                                                 ï                 A            .
                                             M N D Y A . H UM M EL              N

                                             ATTORNEY FOR THEUNITED STATES,
                                             A CTIN G U N DER A U TH O RITY
                                             CONFERRED BY 28U.S.C.j515



                                             JE        DU FFY
                                             A    IS ANT UNITED STATES ATTORNEY
                                UNITED
     Case 1:18-cr-20336-CMA Document 1STATES DISTRI
                                        Entered    G FLSD
                                                  on COURT Docket 04/26/2018 Page 7 of 9
                                                SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OFAM ERICA                             CASE NO.
VS.
                                                     CERTIFICATE O F TRIA L ATTO RN EY*
DELANEY EQUITYGROUPLLC,
                            Defendant.
                                            /        Superseding Case Inform ation:


CourtDivision:(selectone)                            New Defendantts)                    Yes           No
                                                     Num berofNew Defendants
 X       M iam i             Key W est               Totalnum berofcounts
        FTL                  W PB           FTP
         Ido hereby certi
                        fythat:
                   Ihave carefully considered the allegations ofthe indictm ent,the num berofdefendants,the num berof
                   probablewitnessesandtheIegalcomplexitiesoftheIndictment/lnformationattachedhereto.
                   lam awarethattheinform ationsuppliedonthisstatem entw illbe reliedupon bytheJudgesofthisCourtin
                   settingtheircalendarsandschedulingcriminaltrialsunderthemandateoftheSpjedyTrialAct,Title28 U.S.C.
                   Section 3161.

                   Interpreter: (YesorNo)              NO
                   ListIanguageand/ordialect
                   Thiscase willtake 0 daysforthepartiestotry.
                   PleasecheckappropriatecategoryandtypeofofïenseIistedbelow :
                   (Checkonlyone)                                    (Checkonlyone)
                   0to5days                            X                       Petty
                   6 to 10 days                                                M inor
                   llto20days                                                  Misdem.
                   21to60days                                                  Felony            X
                   61daysand over
         6.        Hasthiscasebeenpreviouslyfiledinthi
                                                     sDistrictCoul
                                                                 't? (YesorNo)           No
        Ifyes:
        Judge:                              Case No.
         Hasacomplaintbeenfiledinthismatter?                 (YesorNo)            No
         Ifyes:
         M agistrate Case No.
         Related M iscellaneousnum bers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof                                                                               .
         Rule20from the                                      Dlstrlcto
         Isthisapotentialdeathpenal
                                  tycase?(YesorNo)            No
                   Doesthiscaseoriginatefrom am atterpendingin theNorthern Region ofthe U.S.Attorney'sOffice priorto
                   October14,2003?               Yes       X     No

        8.         Doesthis case originate from a m atter pending in the CentralRegion ofthe U.S.Attorney's Office priorto
                   Septem ber1,2007?                 Yes        X      No



                                                            JERRO U ' Y
                                                            ASSIST NT U ITED STATES AU ORNEY
                                                            Florid Bar. o.A5501106

*penaltySheetts)attached                                                                                      REV4/8/08
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                           UNITED STATES DISTRICT COURT
                           SO U TH ER N D ISTW C T O F FLO RID A

                                      PENA LTY SH EET

 Defendant'sNam e:DELANEY EOUITY G RO UP LLC.

 C aseN o:

 Collnt#:1

 Conspiracv to Unlaw ftlllv SellUnreaistered Seculities

 Title 18.United States Code.Section 371

 *M ax.Penalty:Five(5)years'probation




  frRefers only to possible term ofincarceration,doesnotinclude possible fines,restitutiom
           specialassessm entsrparole term s,or forfeituresthatm ay be applicable.
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AO455(Rev.01/09)WaiverofanIndictment              '

                               U NITED STATES D ISTRICT C OURT
                                                    forthe
                                          Southern DistrictofFlorida

              United StatesofAm erica
                          V.                                   CaseNo.
          DELANEY EQUIW GROUP LLC.,

                        De#ndant
                                        W AW ER OF AN INDICTM ENT

      1understandthat1havebeen accused ofoneorm ore offensespunishableby imprisonmentformorethan one
year.lwmsadvised in open courtofmy rightsandthenature oftheproposed chargesagainstm e.     '
                    $
        Afterreceiving thisadvice,1waivemy rightto prosecution by indictmentand consentto prosecution by
infonnation.




                                                                               De#ndant'
                                                                                       ssignature



                                                                          é'fgnt
                                                                               zfzlreofdefendant'
                                                                                                sattorney


                                                                         Printednameofdefendant'
                                                                                               sattorney


                                                                                 Judge'
                                                                                      ssignature


                                                          .'               Judge'
                                                                                spri
                                                                                   nted nameandtitle
